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6                                 UNITED STATES DISTRICT COURT
                                           OF NEVADA
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9    ALYANA ANZALDUA,
                                                          Case No.: 2:17-cv-02797-APG-VCF
10                  Plaintiff,

11          vs.

12   CAPITAL ONE BANK, N.A.,                              NOTICE OF SETTLEMENT

13                Defendant.

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16          NOTICE IS HEREBY GIVEN that Plaintiff, Alyana Anzaldua, and Defendant, Capital
17   One Bank, N.A., have settled all claims between them in this matter. The parties are in the
     process of completing the final settlement documents and expect to file a Stipulation of
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     Dismissal with Prejudice within the next thirty (30) days. Plaintiff requests that the Court vacate
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     all pending deadlines in this matter. Plaintiff also requests that the Court retain jurisdiction for
20
     any matters related to completing and/or enforcing the settlement.
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22   Dated: May 22, 2018                            By:     /s/Steven A. Alpert
                                                            Steven A. Alpert
23
                                                            Price Law Group, APC
24
                                                            Attorney for Plaintiff
25                                                          Alyana Anzaldua




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